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                                                                                       MAR 25 2025
                                       (17-8) (Part 17-8)
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   APPELLANTS' MEMORANDUM LETTER-DlUEF'zyf'4J

                         The Office of Ulysses T. Ware
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                                         utware007@gmai l. com

                                 Tuesday, March 18, 2025 , 9:52: 17 AM

VIA U.S. MAIL AND E-MAIL TO CHAMBERS
The Honorable Michael L. Brown
United States District Judge
Northern District of Georgia
Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: Ulysses T. Ware and Group Management v. Alpha Capital, AG, et al., Case No. 1:25-cv-
00613-MLB -Article III Threshold Jurisdictional Defects and Necessity for Appellate Status
Conference, Show Cause Order, and Stay of Briefing Schedule.

Dear Judge Brown:

        Appellants Ulysses T. Ware, a natural person, d/b/a as/and Group Management, a sole
proprietorship, pursuant to 28 USC§ 1654, by and through their attorney in fact, Ulysses T. Ware,
respectfully submit this Memorandum Letter Brief (17-8) (Part 17-8) to address critical,
"threshold" dispositive jurisdictional defects that preclude this Honorable Court from proceeding
to the merits of the pending appeal, C2se No. 25-cv-00613-MLB. Steel Co ., 523 U.S. at 93-95.This
memorandum also serves as a renewed request for an Appellate Status Conference, Show Cause
Order, and a stay of the briefing schedule, as announced by the District Clerk on March 17, 2025
(0kt. 10).

I. THE PARAMOUNT NECESSITY TO IDENTIFY ALL
ADVERSE REAL PARTIES IN INTEREST AND THEIR
"PRIVIES."
       To competently and timely prepare the Appellants ' opening brief, due April 7, 2025, it is
imperative that this Court and the Appellants know the exact legal identities of all adverse real


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parties in interest Appellees who will be bound by any final judgment in this appeal. According to
binding Supreme Court precedent, specifically Federated Department Stores, Inc. v. Moite, 452
U.S. 394,398 , 401-02 (1981), any final judgment entered in this 25cv00613 (NOGA) appeal will
bind not only the named Appellees, but also their "privies," and all courts in all future litigation
between the parties. This includes, but is not limited to, all proxies, surrogates, alter-egos, agents,
and all those in active concert with the current lead Appellee, Alpha Capital, AG (Anstalt).

      As Federated Department Stores definitively establishes, all "privies" of Alpha Capital,
AG (Anstalt), Stonestreet L.P., Markham Holding, Ltd, and AMRO International, S.A. (the
02cv2219 (SDNY) plaintiffs):

        (i)       will be forever bound by a final judgment in this appeal, and

      (ii)    are currently and unequivocally bound by the voluntary Rule 41(a)(2) final
judgment entered by former District Judge Leonard B. Sand (SONY) on December 20, 2007, in
Case No. 02cv2219 (SDNY), Dkt. 90. See 25cv00613 (NDGA) Dkt. 5-13 on pages 46-47.

        This Rule 41(a)(2) final judgment, entered at the behest of Appellee Alpha Capital, AG
(Anstalt), et al. , and their successors in interest (see Dkt. 5-13 on pages 46-47), is absolutely
binding on this Court and the Bankruptcy Court below. See US v. L-3 Comm'cs EOTech, Inc.,
921 F.3d 11, 18-19 (2d Cir. 2019) (Kearse, J.) (collecting cases) (holding that a plaintiffs voluntary
dismissal annulled and vitiated all prior proceedings, orders and iudgments and is absolutely
binding on federal and state courts in subsequent proceedings involving the same parties or
their privies), Federated, Id.

        The Rule 4l(a)(2) final judgment in 02cv2219 (SDNY) is not merely a procedural
formality; it is a definitive vo1untary judicial act initi ated by Alpha Capital, AG (Anstalt) and the
02cv2219 (SDNY) plaintiffs, after the statute oflimitation had run on all claims in the 02cv2219
complaint, which carries profound res judicata and collateral estoppel preclusive effects, rendering
the present appeal jurisdictionally infirm absent clarification of the parties and their "privy" status.

        The fai lure to immediately resolve these fundamental and "core" dispositive Article III
' threshold" jurisdictional issues ieaves both the Court, the Appellants, and the putative Appellee-
privies of the 02cv2219 (SDNY) plaintiffs, in a state of uncertainty, a state of confusion, akin to
procedural anarchy, and unable to definitively identify and formally ascertain who is properly
before the Court, who needs to be brought before the Court, and who will be legally bound by its
decisions. This avoidable ambiguity and inherent uncertainty undermines the integrity of the
appellate process and necessitates immediate judicial intervention. 2


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  The Court's delay in addressi ng these dispositive, "threshold" fundamental Article III jurisdictional
threshold issues before proceeding to review or adjudicate the merits of the issues raised on appeal
signi(icantlv preiudices Appellants and creates procedural ambiguity a11d chaos detrimental to all
parties. The unresolved "threshold" dispositive jurisdictional defects render unclear the legal standing and
interests of the putative Appellees, impair the Court's ability to ensure its jurisdictional authority, and

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II. THE ABSENCE OF ARTICLE III SUBJECT MATTER
JURISDICTION
         Given the dispositive and currently unresolved issues surrounding party identities and
"privy" status in the 25cv006 l 3 appeal, this Honorable Court and the Appellants remain to this
day uncertain as to the legal identities of the correct parties currently before the Court, and
critically, who will be bound by a final iudgment. This uncertainty is compounded by the
indisputable fact that Judge Sand's December 20, 2007, Rule 4l(a)(2) final judgment in 02cv2219
(SONY) is absolutely binding on each 02cv22 l 9 (SDNY) plaintiff putative Appellee in 25cv00613
and their "privies," according to Federated, 452 U.S. at 398, 401-02.

        Thus, it is of paramount importance to immediately identify each of the "privies" of the
02cv2219 (SDNY) Appellee-plaintiffs who are legally bound by the res judicata and collateral
estoppel preclusive effects of Judge Sand's December 20, 2007, Rule 41(a)(2) final judgment in
favor of Appellants Group Management and Ware (the "Rule 41(a)(2) Final Judgment Prevailing
Parties"). The Rule 41(a)(2) Final Judgment Prevailing Parties-Appellants herein, have
consistently and will consistently continue to exercise and advance their legal rights to enforce
this final judgment, via the civil and criminal contempt processes if necessary, and apply the
preclusive effects of res judicata and collateral estoppel to the 03-93031 and 25cv00613
proceedings. These binding preclusive effects "actually and necessarily" prohibited the 03-93031
bankruptcy court below, and currently actually, necessarily, and constructively prohibit this
Article III United States federal court, from entertaining any argument, issue, fact, or claim
advanced or presented by any "privy" of the 02cv22 l 9 (SONY) plaintiffs in the 25cv006 l3 appeal
"actually or necessarily" decided by Judge Sand's Rule 41(a)(2) final judgment. See Federated,
452 U.S. at 401-02.

        The Dec. 20, 2007, Dkt. 90, voluntary. ex parte Rule 4l(a)(2) dismissal with preiudice of
the 02cv2219 (SDNY) lawsuit by plaintiffs, Appellees Alpha Capital, AG (Anstalt), et al.,
constitutes a final judgment on the merits in favor of the Appellants herein. This judgment, ipso
facto and by operation of law, actually and necessarily finally and irrevocably decided the Article
III "core" standing issues of the lack of: (i) "a particularized, concrete injury in fact," (ii) "a legally
protected interest" in the Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5, and (iii)
"unlawful conduct fairly traceable to the conduct of the Appellants herein" (paraphrased). See
Lujan v. Defenders of Wildlife, 504 U.S . 550, 560-61 (1998).




obscure who precisely will be bound by its determinations. This avoidable procedural uncertainty, absent
prompt judicial resolution, inherently compromises the integrity, reliability, and fairness of these appellate
proceedings. Immediate judicial intervention is therefore warranted, essential not only to restore procedural
clarity but also to uphold the legitimacy of the Court's rulings and ensure all decisions made herein
conclusively bind the proper parties, thereby safeguarding the fundamental interests of justice, and avoid a
moot advisory opinion. Steel Co ., 523 U.S. at 94-95.


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         These "core" Article III standing requirements were decisively and finally decided in favor
of the Appellants herein on December 20, 2007, Dlct. 90, 02cv2219 (SDNY), and the preclusi ve
effects of these Article III "core" standing requirements are binding "absolutely" on the bankruptcy
court in 03-93031 and this Article III United States federal court, 25cv00613. See Federated, 452
U.S. at 398. Applying the Court's reasoning and holding in Steel Co. v. Citizens for a Better
Environment, 523 U.S . 83 , 93-95 (1998), to the "binding absolutely on all courts, the parties, and
their privies" holding in Federated, the res judicata and collateral estoppel preclusive effects of
the 02cv2219 (SDNY) December 20, 2007, Rule 41(a)(2) final judgment strictly prohibited the
03-93031 bankruptcy court, and prohibits this United States Article Ill District Court, 25cv00613
appeals court, from any review and/or adjudication of the merits of the pending appeal. Steel
Co., 523 U.S. at 93-95 (a federal court is not lawfully authorized to review the merits of an appeal
until jurisdiction is "first" "a:(fi nnatively established").

        Until such time as: (i) each putative Appellee named in 03-93031 Dkt. 281 and "privies"
of the 02cv2219 (SDNY) plaintiffs appear in this 25cv006 I 3 court, (ii) file a declaration under the
penalty of perjury with respect to each element of Article III standing, and (iii) admit or disclaim
adverse real party in interest (privy) status with respect to the 02cv22 l 9 (SDNY) plaintiffs and
their agents, proxies, surrogates, alter-egos, privies, and all those in active concert therewith, this
matter is not ripe for appeal and the Court cannot lawfully proceed to the merits of any issues
raised on appeal, Steel Co ., Id. at 93-95 .

III. LACK OF CURRENT RIPENESS FOR APPEAL IN 25CV00613
DUE TO UNCERTAIN APPELLEE IDENTITIES AND STATUS.
        This section addresses the critical Article Ill constitutional "threshold" issue of ripeness in
the pending appeal, Case No. 25cv00613 (NDGA), arising from the present uncertainty
surrounding the identities and legal status of the Appellees. The doctrine ofripeness, grounded in
Article III of the U.S. Constitution, mandates that federal courts only adjudicate actual "Cases" or
"Controversies," thus precluding premature or abstract disputes. The present appeal, in its current
posture, fails to meet this fundamental ripeness requirement.

A. Ripeness Doctrine and.Article Ill Jurisdiction

        The ripeness doctrine, a core component ofjusticiability, ensures that federal courts do
not issue advisory opinions or become entangled in disputes that are not yet sufficiently defined
or concrete. A case is unripe when the issues are not clearly delineated, the factual record remains
underdeveloped, or the harm alleged is merely speculative or contingent. National Park
Hospitality Ass'n v. Department of Interior, 538 U.S. 803, 807-08 (2003).3 As the Supreme Court

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  National Park Hospitality holds that courts must ensure a dispute is sufficiently mature before adjudicating
it. In 25cv00613, the alleged "privies" to the 02cv22 l 9 (SDNY) plaintiffs remain unidentified, leaving the
District Court uncertain whether actual adver. ity persists. Determining which entities are bound by the
prior final judgment entered in 02cv22 l 9 (SDNY), 0kt. 90, Dec. 20, 2007, Sand, J. is indispensable to
establishing whether a concrete live Article I II case or controversy is extant between Appellants and the

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has affirmed, ripeness is not merely a procedural technicality, but a question of subject matter
jurisdiction, directly implicating the constitutional limits offederal judicial power. Id.

B. Uncertainty Regarding Real Parties in Interest and Their Status 4

       In the context of this appeal, a fundamental lack of ripeness stems from the unresolved
uncertainty surrounding the actual and factual identities and legal status of the Appellees apropos:

         (i) the Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5; and

       (ii) their status as agents, proxies, surrogates, alter-egos, privies, or in active concert with
the LH Financial Services, Arie Rabinowitz, Kem1eth , . Zitt r, Esq., KTS, and/or th - 02cv2219
(SDNY) plaintiffs,

jointly an illegal association in fact as defined in 18 USC § 1961(4)-a predatory Hobbs Act
continuing criminal enterprise. Cf., 25cv00613 Dkt. 5-13 on pages 43-45; 46-48; and 52-53.

     1. Indefinite Appellee Identities: As previously detailed, Appellants have demonstrated
        substantial doubt regarding the true identities of the Appellees. The District Clerk's notice


Appellees. In the absence of that clarity, this appellate matter is premature, as its factual predicates-
 namely, the precise adverse, putative Appellee parties subject to any preclusive effect-remain
 undeveloped. Proceeding without the proper identification and "privy" status of each Appellee could
 generate an advisory opinion, cm1trary to the Court's duty to adjudicate only ripe disputes. Consistent with
National Park Hospitality, the District Court is required by Article III to forthwith conduct all proceedings
 necessary to determine that the alleged privies' legal and equitable positions with respect to the "core"
Article III standing requirements have been fully crystallized. Absent a definitive showing that these
 unidentified parties possess cognizable "legally protected interests" in the Predatory Criminal Usury
Subject Matter, GX 1-4, and GX 5, creating actual genuine and concrete adversity, the Court is required
by Steel Co., 523 U.S. at 93-95, that a stay is appropriate under the ripeness principles until each Appellee
and their legal counsel immediately appears in the 25cv00613 (NDGA) District Court and declares under
oath subject to the penalty of perjury (i) its legal or equitable status apropos the 02cv22 l 9(SDNY) plaintiffs,
 (ii) its alleged "particularized, concrete injury in fact," (iii) to its alleged "legally protected interest" in
 the Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5; and (iv) identify the alleged harm
resulting from their failure to enforce and/or collect the Predatory Criminal Usury Debts in violation of
federal extortion, loan sharking, money laundering, and racketeeriflg law , 18 USC§§ 1951(a), 1956-
57, 1961(6)(B), and 1962(a-d), cf., Grote, 961 F.3d at 109-118, "fairly traceable to the [lawful] conduct of
the Appellants herein." (paraphrased). Lujan, 504 U.S. at 560-61. Accordingly, pursuant to Article III
constitutional requirements the District Court is required to immediately conduct the appellate status
conference before being lawfully authorized to review or adjudicate the merits of the 25cv00613 (NDGA)
appeal. Steel Co. , Id.

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  "All this is to say that further factual development would "significantly advance our ability to deal with
the legal issues presented" and would "aid us in their resolution." Duke Power Co. v. Carolina
Environmental Study Group, Inc., 438 U.S. 59, 82 (1978)." Ohio Forestry Assn., Inc. v. Sierra Club , 523
U.S. 726, 737 (1998).

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       (Dkt. 281 in 03-93031) lists a multitude of parties, including attorneys and entities whose
       precise legal relationship to the lead Appellee, Alpha Capital, AG, and to each other,
       remains undefined. Without clarity as to who the actual adverse parties are - those with a
       genuine stake in the outcome and who will be bound by a final judgment - the appellate
       process is fundamentally flawed at its inception . Meaningful briefing and adjudication are
       impossible when the very identities of the disputants remain ambiguous.
    2. Preclusive Effect of Rule 41(a)(2) Judgment: The Dec. 20, 2007, Dkt. 90, Sand, J.
       dispositive Rule 41(a)(2) final judgment entered in 02cv2219 (SDNY) further compounds
       the ripeness deficiency. This final judgment, binding on the 02cv2219 plaintiffs and their
       privies under Federated Department Stores, Inc. v. Moite, 452 U.S. 394, 398, 401-02
       (1981 ), legally preclude via res judicata and collateral estoppel the arguments, and claims
       of many, if not all, of the named Appellees in 25cv00613. Until the Court definitively
       identifies the "privies" of the 02cv22 l 9 (SDNY) plaintiffs, and determines the scope of
       preclusion, it cannot ascertain whether the purported controversy before it is justiciable and
       ripe for appellate review. Proceeding with merits briefing before resolving this critical
       threshold issue risks a moot advisory opinion, and the futile expenditure of judicial
       resources on a non-justiciable matter.
    3. Speculative and Abstract Controversy: If, as Appellants contend, the Appellees'
       arguments and claims are indeed precluded by the Rule 4l(a)(2) final judgment's res
       judicata preclusive effects, the current appeal transforms into a speculative and abstract
       exercise, devoid of a live Article III case or controversy with respect to the 02cv2219
       (SDNY) plaintiffs and their "privies." Federated, 452 U.S. at 398, 401-02. 5 Federal courts
       are not empowered to issue advisory opinions on hypothetical legal questions, but are
       limited to resolving concrete disputes between adverse parties with a genuine stake in the
       outcome. To proceed in the absence of clearly defined parties and a concrete adverse
       controversy with respect to the Predatory Criminal Usury Subject Matter, GX 1-4, and GX
       5 would be to invite such an advisory opinion, directly contravening the ripeness doctrine.
    4. Premature Adjudication and Judicial Inefficiency: Adjudicating the merits of the appeal
       prior to resolving the fundamental questions of party identity and jurisdictional preclusion
       would be demonstrably premature and inefficient. It would compel Appellants to brief
       issues against potentially undefined adversaries and require this Court to expend
       resources considering arguments without a clear understanding of the legal standing and
       prec/usive status of the parties before it. Such a course of action would not only be
       inefficient but also undermine the integrity and purpose of the appellate process.
    5. Lack of Defined "Legally Protected Interest": Ripeness is intrinsically linked to Article
       III standing, which necessitates a "legally protected interest" that has suffered a concrete
       injury in fact. Lujan- v. Defenders of Wildlife, 504 U .S. 550, 560 (1992). Here, the
       Appellees ' purported "legally protected interest" is purportedly founded upon the
       Predatory Criminal Usury Subject Matter (GX 1-4 and GX 5). However, Appellants have
       consistently argued that these predatory debt instruments are void ab initio due to criminal

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  The lack of extant actual concrete adverseness between Appellants and Appellees regarding the Atiicle
Ill standing and jurisdictional issues actually and/or necessari ly resolved, Federated, Id., by the Dec. 20,
2007, Dkt. 90, Sand, J. , 02cv2219 (SDNY) Rule 4l(a)(2) voluntary final judgment, see 25cv00613 (NDGA)
Dkt. 5-13 on pages 46-47.

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       usury, NYS Penal Law,§ 190.40, the;: criminal usury law, a class E felony, federal securities
       violations, 15 USC§§ 77e, 77x, 78o(a)(l), and 78ff, and federal racketeering laws, 18 USC
       §§ 1951(a), 1956-57, 1961(6)(B), and 1962(a-d).
    6. The Joint Stipulated Appellate Record, Dkt. 5 and Dkt. 9, establish this is indeed the case,
       no legally protected interest can arise from these predatory criminal usury unlawful debt
       instruments. Thus, until the Appellees' identities and their legal relationship to the
       dispositive Dec. 20, 2007, 0kt. 90, 02cv2219 (SDNY) Rule 41 (a)(2) voluntary final
       judgment is clarified, this Court cannot definitively determine whether they possess a
       legally protected interest sufficient to render the appeal ripe for adjudication.

C. Conclusion and Requested Relief

        The current appeal, Case No. 25cv00613 (NDGA), is demonstrably unripe due to the
unresolved uncertainties surrounding the actual legal identities and legal status of the Appellees,
coupled with the preclusive effect of the prior 02cv2219 (SDNY) Rule 41(a)(2) final judgment.
To rectify this fundamental jurisdictional defect and ensure the appeal is properly before this Court,
Appellants respectfully request that this Honorable Court:

    1. Convene an Appellate Status Conference forthwith to address the threshold Article III
       jurisdictional defects and clarify the identities of all real parties in interest Appellees and
       their privies.
    2. Issue a Show Cause Order directing each Appellee to clarify their identity, legal status,
       and basis for asserting Article III standing, particularly in light of the Rule 41(a)(2) final
       judgment and the predatory nature of the underlying debt instruments.
    3. Stay the Briefing Schedule announced by the District Clerk on March 17, 2025 (Dkt.
       10), pending resolution of the jurisdictional issues and party clarification.

        These Article III "threshold " jurisdictional procedural measures are essential to establish
a proper jurisdictional basis for the appeal, conserve judicial resources, and uphold the
constitutional limitations on federal court jurisdiction. Proceeding to merits briefing prior to
resolving these fundamental ripeness concerns would be both legally unsound and a disservice to
the principles of judicial economy and efficiency.

III. REQUEST FOR APPELLATE STATUS CONFERENCE AND
STAY OF BRIEFING SCHEDULE.
        Appellants are respectfully, again (see their March 10, 2025 , (17-1) Application for an
Appellate Status Conference, attached hereto as Exhibit A), requesting that this Honorable District
Court fulfill its procedural Article III constitutional duties and forthwith convene the requested
appellate status conference to clarify the dispositive Article III standing and jurisdictional issues
raised herein.




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            In light of the critical jurisdictional issues outlined above, the Appellants respectfully apply
    to the Court to stay the Briefing Schedule announced by the District Clerk in Dkt. 10, entered on
    the docket on March 17, 2025. Thi s request is timely made and is not intended for delay, but rather
    to ensure that the Court and Appellants are fully informed as to the legal identities of the parties
    before the Court and the dispositive jurisdictional impediments to this appeal. Continuing with the
    briefing schedule prior to resolving these fundamental issues would be inefficient and potentially
    prejudicial to all parties.

            Accordingly, Appellants respectfully request that the District Court hold in abeyance the
    briefing schedule established on March 17, 2025, as announced by the District Clerk in Dkt. 10,
    Exhibit B, attached hereto.

    IV. CONCLUSION
             For the foregoing reasons, and in the interests of judicial economy and the sound
    administration of justice, Appellants Ulysses T. Ware and Group Management respectfully request
    that this Honorable Court:

        1. Convene an Appellate Status Conference forthwith to address the threshold Article III
           jurisdictional defects and clarify the identities of all real parties in interest Appellees and
           their privies.
        2. Stay the Briefing Schedule announced by the District Clerk on March 17, 2025 (Dkt. 10),
           pending resolution of the jurisdictional issues and party clarification.
        3. Direct each Appellee to file a declaration under penalty of perjury, identifying: (i) the real
           party in interest they represent, (ii) their privy status, if any, to the 02cv2219 (SDNY)
           plaintiffs, and (iii) their basis for asserting Article III standing in this appeal, despite the
           preclusive effects of the Rule 41(a)(2) final judgment and the nature of the Predatory
           Criminal Usury Subject Matter.

            Prompt action by this Court is essential to safeguard the integrity of these appellate
    proceedings and ensure that justice is administered effectively and in accordance with established
    constitutional and legal principles.

    Respectfully submitted,

    The Office of Ulysses T. Ware

~          ssesTWaM
    Uly~       i .~e      ~
    Attorney in Fact for Appellants Group Management (a sole proprietorship) and Ulysses T. Ware

    Attachments (incorporated by reference as if attached hereto and made a part hereof, in
    heac verba):

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    •    Exhibit A- March 10, 2025, ( 17- ! ) Application for a Show Cause Article III Jurisdiction
         Order and Other Reliefs.
    •    Exhibit B- March 17, 2025, docketed Dkt. 10, 25cv00613 (NDGA) briefing schedule.

Appellants' 28 USC§ 1654 and 18 USC§§ 2071(a), (b) Declaration of filing and service

                        18 USC§§ 207l(a), (b), 28 USC§ 1654
                       Pro Se Appellants' Declaration of Filing
I Ulysses T. Ware hereby this 18th day of March 2025, in Brooklyn, NY declar and certify under

oath that I filed on March 18, 2025, via U.S. mail and via email to the Chambers of the Hon.

District Judge Michael L. Brown pursuant to 18 USC§§ 2071(a), (b) , this judicial public record,

a judicial pleading, for filing and docketing in 25cv00613 (NDGA), and by 28 USC§ 1654 prose

appellants.



Signed under oath subject to the penalty of perjury having personal knowledge of the facts,

pursuant to 28 USC§ 1746 this 18th day of March 2025, in Brooklyn, NY.


Isl Ulysses T. Ware

For Ulysses T. Ware, a natural person, d/b/a Group Management, a sole
proprietorship, pursuant to 28 USC§ 1654.

Respectfully submitted,

Isl Ulysses T. Ware

~~rt~
28 USC§ 1654 Attorney-in-fact for Appellants, Group Management (a sole proprietorship) and
Ulysses T. Ware



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